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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

         v.                                            Case No. 22-mj-229 (MAU)

MACSEN RUTLEDGE,
              Defendant.

                                              ORDER

       Based upon the representations in the Unopposed Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on February 14, 2023 be

continued for good cause until $SULO, 2023 at SP; and it is further

       ORDERED that the time between February 14, 2023 and $SULO shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial,as a continuance will provide the

defense time to review discovery.


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                                             UNITED STATES MAGISTRATE JUDGE
